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                 IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 NIKOLE ANN BAIN, a minor child B.A.B.,
            Plaintiff,                                         JUDGMENT



                    v.


 LYNNE BAIN, LARRY BAIN, MANDY                        Case No. 2:17-cv-1305-DB-EJF
 PACE, DARIN PACE, JENNIFER WILSON,
 JUDGE ROBERT NEILL, MELINDA
 CHECKETTS-HIBBERT, et al,
            Defendants.                                 District Judge Dee Benson

                                                    Chief Magistrate Judge Evelyn Furse




        IT IS ORDERED AND ADJUDGED that this action is hereby DISMISSED in its

entirety.

                   IT IS SO ORDERED.

        DATED this 26rd day of July, 2018.



                                             _________________________________
                                             Dee Benson
                                             United States District Judge
